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                               #:18695



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16 Moog Inc.
17
18                              UNITED STATES DISTRICT COURT
19                            CENTRAL DISTRICT OF CALIFORNIA
20 MOOG INC.,                                          Case No. 2:22-cv-09094-GW-MAR
21                     Plaintiff,                      [PROPOSED] ORDER GRANTING
                                                       PLAINTIFF AND COUNTER-
22            v.                                       DEFENDANT MOOG INC.’S
                                                       APPLICATION FOR LEAVE TO
23 SKYRYSE, INC. ROBERT ALIN                           FILE UNDER SEAL DESIGNATED
   PILKINGTON, MISOOK KIM, and                         MATERIALS FROM ITS
24 DOES NOS. 1-50,                                     AMENDED TRADE SECRET
                                                       IDENTIFICATION
25                     Defendants.
26                                                     Judge: Hon. George H. Wu
                                                       Magistrate Judge: Hon. Margo A.
27                                                     Rocconi
28
                                                   -1-               Case No. 2:22-cv-09094-GW-MAR
     SMRH:4887-0696-7676    [PROPOSED] ORDER GRANTING MOOG INC.’S APPLICATION FOR LEAVE TO FILE
                                        UNDER SEAL DESIGNATED MATERIALS FROM ITS AMENDED TSID
Case 2:22-cv-09094-GW-MAR Document 622-1 Filed 08/31/23 Page 2 of 3 Page ID
                               #:18696



  1
       SKYRYSE, INC.,
  2
                            Counterclaimant,
  3             vs.
  4    MOOG INC.,
  5                         Counter-Defendant.
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                                                      -2-               Case No. 2:22-cv-09094-GW-MAR
      SMRH:4887-0696-7676      [PROPOSED] ORDER GRANTING MOOG INC.’S APPLICATION FOR LEAVE TO FILE
                                           UNDER SEAL DESIGNATED MATERIALS FROM ITS AMENDED TSID
Case 2:22-cv-09094-GW-MAR Document 622-1 Filed 08/31/23 Page 3 of 3 Page ID
                               #:18697



  1           The Court, having considered Plaintiff and Counter-Defendant Moog Inc.’s
  2 Application for Leave to File Documents Under Seal in Support of Moog’s
  3 Amended Trade Secret Identification, and all evidence and argument in support and
  4 opposing it, and with compelling reason being shown, hereby GRANTS the
  5 Application and ORDERS that the following documents or portions thereof
  6 identified in Moog’s Opposition be filed under seal:
  7
  8
            DOCUMENT                      Designating Party                    Ruling
  9
       Moog’s Amended               Moog                             Sealed in its entirety.
10     Trade Secret
       Identification (Non-
11     CUI)
12
       Exhibits 1-2 to              Moog                             Sealed in its entirety.
13     Moog’s Amended
       Trade Secret
14     Identification (Non-
       CUI)
15
       Moog’s Amended               Moog                             Sealed in its entirety.
16     Trade Secret
       Identification (CUI)
17
18     Exhibit A to Moog’s          Moog                             Sealed in its entirety.
       Amended Trade
19     Secret Identification
       (CUI)
20
21            IT IS SO ORDERED.
22
23 DATED: ___________________, 2023
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25
                                                        The Honorable Margo A. Rocconi
26
                                                        United States Magistrate Judge
27
28
                                                   -3-               Case No. 2:22-cv-09094-GW-MAR
      SMRH:4887-0696-7676   [PROPOSED] ORDER GRANTING MOOG INC.’S APPLICATION FOR LEAVE TO FILE
                                        UNDER SEAL DESIGNATED MATERIALS FROM ITS AMENDED TSID
